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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                 4:17CR3125

      vs.
                                                               ORDER
MARCUS KIM REMUS,

                  Defendant.


      Defendant has moved to continue the pretrial motion deadline, (Filing No.
15), because Defendant and defense counsel need additional time to fully review
the discovery received before deciding if pretrial motions should be filed. The
motion to continue is unopposed. Based on the showing set forth in the motion,
the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 15), is granted.

      2)    Pretrial motions and briefs shall be filed on or before January 5,
            2018.

      3)    Trial of this case remains scheduled to commence on January 29,
            2018

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and January 5, 2018 shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel
            have been duly diligent, additional time is needed to adequately
            prepare this case for trial and failing to grant additional time might
            result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).
            Failing to timely object to this order as provided under this court’s
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          local rules will be deemed a waiver of any right to later claim the time
          should not have been excluded under the Speedy Trial Act.

    December 21, 2017.
                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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